     Case 4:07-cv-05944-JST Document 3283-1 Filed 12/23/14 Page 1 of 4




1    Kenneth A. Gallo (pro hac vice)
     Joseph J. Simons (pro hac vice)
2    Craig A. Benson (pro hac vice)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
3    2001 K Street, NW
     Washington, DC 20006-1047
4    Telephone: (202) 223-7300
     Facsimile: (202) 223-7420
5    Email: kgallo@paulweiss.com
     Email: jsimons@paulweiss.com
6    Email: cbenson@paulweiss.com
7    Stephen E. Taylor (SBN 058452)
     Jonathan A. Patchen (SBN 237346)
8    TAYLOR & COMPANY LAW OFFICES, LLP
     One Ferry Building, Suite 355
9    San Francisco, California 94111
     Telephone: (415) 788-8200
10   Facsimile: (415) 788-8208
     Email: staylor@tcolaw.com
11   Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation and
13   Sharp Electronics Manufacturing Company of America, Inc.
14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17
     IN RE CATHODE RAY TUBE (CRT)                               Case No. 07-cv-5944 (SC)
18   ANTITRUST LITIGATION
                                                                MDL No. 1917
19   This Document Relates To:
                                                                DECLARATION OF GARY R.
20   Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   CARNEY IN SUPPORT OF
     No. 13-cv-1173;                                            SHARP’S OPPOSITION TO
21                                                              DEFENDANTS’ MOTION FOR
     Sharp Elecs. Corp. et al. v. Koninklijke Philips           PARTIAL SUMMARY JUDGMENT
22   Elecs. N.V. et al., No. 13-cv-2776-SC.                     ON STATUTE OF LIMITATIONS
                                                                GROUNDS
23
                                                                [EXHIBITS C-R AND T FILED
24                                                              UNDER SEAL PURSUANT TO
25                                                              CIVIL LOCAL RULE 79-5]

26

27

28
                                                      -1-
     DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                             CASE NOS. 13-1173 (SC), 13-2776 (SC); MDL NO. 1917
     Case 4:07-cv-05944-JST Document 3283-1 Filed 12/23/14 Page 2 of 4




1    I, GARY R. CARNEY, hereby declare as follows:

2                    1.     I am a Counsel with the law firm of Paul, Weiss, Rifkind, Wharton &

3    Garrison LLP, counsel for Plaintiffs Sharp Electronics Corporation and Sharp Electronics

4    Manufacturing Company of America, Inc. (collectively, “Sharp”). I am a member of the bar of

5    the State of New York and I am admitted to practice before this court pro hac vice.

6                    2.     I submit this Declaration in support of Sharp’s Opposition to Defendants’

7    Motion for Partial Summary Judgment on Statute of Limitations Grounds, dated December 23,

8    2014. I have personal knowledge of the facts stated herein and could competently testify to these

9    facts if called upon to do so.

10                   3.     Attached as Exhibit A is a true and correct copy of relevant excerpts from

11   Volumes I and II of the Deposition of Toshihito Nakanishi, dated July 29-30, 2014.

12                   4.     Attached as Exhibit B is a true and correct copy of relevant excerpts from

13   the Deposition of Vincent Sampietro, dated June 25, 2014.

14                   5.     Attached as Exhibit C is a true and correct copy of the document produced

15   at Bates number HEDUS-CRT00161617 by Hitachi Electronic Devices (USA), designated as

16   Confidential.

17                   6.       Attached as Exhibit D is a true and correct copy of a certified translation

18   of the document produced at Bates number SDCRT-0005830 by Samsung SDI, designated as

19   Highly Confidential.

20                   7.       Attached as Exhibit E is a true and correct copy of a certified translation

21   of the document produced at Bates number MTPD-0423675 by MT Picture Display Co., Ltd.,

22   designated as Confidential.

23                   8.       Attached as Exhibit F is a true and correct copy of a certified translation

24   of the document produced at Bates number MTPD-0035375 by MT Picture Display Co., Ltd.,

25   designated as Confidential.

26

27

28
                                                     -2-
     DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                             CASE NOS. 13-1173 (SC), 13-2776 (SC); MDL NO. 1917
     Case 4:07-cv-05944-JST Document 3283-1 Filed 12/23/14 Page 3 of 4




1                  9.       Attached as Exhibit G is a true and correct copy of a certified translation

2    of the document produced at Bates number MTPD-0426066 by MT Picture Display Co., Ltd.,

3    designated as Confidential.

4                  10.      Attached as Exhibit H is a true and correct copy of a certified translation

5    of the document produced at Bates number SDCRT-0006868 by Samsung SDI, designated as

6    Highly Confidential.

7                  11.      Attached as Exhibit I is a true and correct copy of a certified translation of

8    the document produced at Bates number MTPD-0291761 by MT Picture Display Co., Ltd.,

9    designated as Confidential.

10                 12.      Attached as Exhibit J is a true and correct copy of a certified translation

11   of the document produced at Bates number MTPD-0492286 by MT Picture Display Co., Ltd.,

12   designated as Confidential.

13                 13.      Attached as Exhibit K is a true and correct copy of a certified translation

14   of the document produced at Bates number MTPD-0493549 by MT Picture Display Co., Ltd.,

15   designated as Confidential.

16                 14.      Attached as Exhibit L is a true and correct copy of a certified translation

17   of the document produced at Bates number MTPD-0400579 by MT Picture Display Co., Ltd.,

18   designated as Confidential.

19                 15.      Attached as Exhibit M is a true and correct copy of a certified translation

20   of the document produced at Bates number MTPD-0410018 by MT Picture Display Co., Ltd.,

21   designated as Confidential.

22                 16.      Attached as Exhibit N is a true and correct copy of a certified translation

23   of the document produced at Bates number SDCRT-0086449 by Samsung SDI, designated as

24   Highly Confidential.

25                 17.      Attached as Exhibit O is a true and correct copy of a certified translation

26   of the document produced at Bates number SDCRT-0086532 by Samsung SDI, designated as

27   Highly Confidential.

28
                                                    -3-
     DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                             CASE NOS. 13-1173 (SC), 13-2776 (SC); MDL NO. 1917
     Case 4:07-cv-05944-JST Document 3283-1 Filed 12/23/14 Page 4 of 4




1                    18.     Attached as Exhibit P is a true and correct copy of relevant excerpts from

2    Volume I of the Deposition of Chih Chun-Liu, dated February 19, 2013, designated as Highly

3    Confidential.

4                    19.     Attached as Exhibit Q is a true and correct copy of relevant excerpts

5    from Volumes I and II of the Deposition of Tomoyuki Kawano, dated October 27-28, 2014,

6    designated as Highly Confidential.

7                    20.     Attached as Exhibit R is a true and correct copy of relevant excerpts from

8    Volume II of the Deposition of Sheng-Jen Yang, dated February 25, 2013, designated as Highly

9    Confidential.

10                   21.    Attached at Exhibit S is a true and correct copy of a letter from Craig

11   Benson to Defendants’ Counsel, dated October 14, 2014.

12                   22.     Attached as Exhibit T is a true and correct copy of relevant excerpts from

13   Volumes I and II of the Deposition of Ayumu Kinoshita, dated February 5-6, 2013, designated as

14   Highly Confidential.

15

16          I declare under penalty of perjury that the foregoing is true and correct. Executed this

17   23rd day of December, 2014, at New York, NY.

18

19                                                        /s/ Gary R. Carney
                                                              Gary R. Carney
20

21

22

23

24

25

26

27

28
                                                    -4-
     DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                             CASE NOS. 13-1173 (SC), 13-2776 (SC); MDL NO. 1917
